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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 JEMIKA JOHNSON AND,                         )
 ESTATE OF BABY JOY JOHNSON                  )
                                             )
               Plaintiffs,                   )
                                             )       Civil Action No. 1:23-cv-01024
 v.                                          )
                                             )
 RAPPAHANNOCK REGIONAL                       )
 JAIL AUTHORITY, ET AL.                      )
                                             )
               Defendants.                   )


                                    JAIL DEFENDANT’S
                                   NOTICE OF HEARING

        PLEASE TAKE NOTICE that on March 8, 2024, at 8:30 a.m., or as soon thereafter as

 counsel may be heard, Defendants James Schmitz, Brock Newton, Jared Paul, Stephenie Brown,

 Patrick Riverson, Shawn Connolly, Peter Teye, David Gonier, Sr., Austin Stoy, Douglas Johnson,

 Christopher Candler, Diana Gladmon, Gregory Coleman, Gregory McRae, Tony Coles, Joseph

 Jackson, Victor Reid, Paul Wallace, Laura Hedden, Helena Sangoe, Terrence Shell, Barbara

 Meade, Edward Adusei, LPN, Kevin Hudson, Patrick O’Connor, and Rappahannock Regional Jail

 Authority (together the “RRJA Defendants” or “Jail Defendants”), will present their Motions to

 Dismiss against Plaintiff Jemika Johnson.



 Submitted: January 10, 2024         Respectfully,

                                     JAIL DEFENDANTS


                                     /s/ Rebecca A. Roberts
                                     Martin A. Conn (VSB No. 39133)
                                     Taylor D. Brewer (VSB No. 82041)

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                              Rebecca A. Roberts (VSB No. 99524)
                              MORAN REEVES & CONN PC
                              1211 East Cary Street
                              Richmond, Virginia 23219
                              Telephone: (804) 864-4805
                              Facsimile: (804) 421-6251
                              tbrewer@moranreevesconn.com
                              mconn@moranreevesconn.com
                              rroberts@moranreevesconn.com
                              Counsel for Jail Defendants




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on the 10th day of January, 2024, I electronically filed the foregoing

 pleading using the CM/ECF System, which will send notifications of the filing to all counsel of

 record:

                                  Joshua Erlich, Esq. (VSB No. 81298)
                                  Katherine Lynne Herrmann, Esq.
                                  THE ERLICH LAW OFFICE, PLLC
                                  2111 Wilson Blvd. #700
                                  Arlington, VA 22201
                                  Telephone (703) 791-9087
                                  Facsimile: (703) 722-8114
                                  jerlich@erlichlawoffice.com
                                  kherrmann@erlichlawoffice.com
                                  Counsel for Plaintiff

                                  Aderson Francois, Esq.
                                  Nicole E. Molinaro, Esq.
                                  Genevieve Mesch, Esq.
                                  Civil Rights Clinic
                                  GEORGETOWN UNIVERSITY LAW CENTER
                                  600 New Jersey Avenue NW, Suite 352
                                  Washington, DC 20001
                                  Telephone: (202) 661-6721
                                  Aderson.Francois@georgetown.edu
                                  Nicole.Rheault@georgetown.edu
                                  Genevieve.Mesch@georgetown.edu
                                  Pro Hac Vice Pending

                                  John David McGavin
                                  MCGAVIN, BOYCE, BARDOT, THORSEN AND KATZ, P.C
                                  9900 University Drive Suite
                                  400 Fairfax, VA 22030
                                  Telephone: (703) 385-1000
                                  jmcgavin@mbbtklaw.com
                                  Counsel for Rappahannock Creative Health Care Defendants

                                  Philip C. Krone, Esq., (VSB No. 87723)
                                  Cook Craig & Francuzenko, PLLC
                                  3050 Chain Bridge Road, Suite 200
                                  Fairfax, VA 22030
                                  Phone: (703) 865-7480
                                  Fax: (703) 434-3510
                                  pkrone@cookcraig.com

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                         alex@cookcraig.com
                         Counsel for Defendant Rappahannock Area Community Services
                         Board


                                      /s/ Rebecca A. Roberts
                                      Martin A. Conn, Esq. (VSB No. 39133)
                                      Taylor D. Brewer, Esq. (VSB No. 82041)
                                      Rebecca A. Roberts, Esq. (VSB No. 99524)
                                      MORAN REEVES & CONN PC
                                      1211 East Cary Street
                                      Richmond, Virginia 23219
                                      (804) 864-4805 – Telephone
                                      (804) 421-6251 – Facsimile
                                      mconn@moranreevesconn.com
                                      tbrewer@moranreevesconn.com
                                      rroberts@moranreevesconn.com
                                      Counsel for Jail Defendants




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